           Case 3:19-cv-00807-RS Document 124 Filed 01/21/21 Page 1 of 5




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                                 UNITED STATES DISTRICT COURT
14                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

15    Innovation Law Lab, et al.,                       CASE NO.: 3:19-CV-00807-RS

16                    Plaintiffs,                       JOINT MOTION & STIPULATION TO
                                                        HOLD IN ABEYANCE OR CONTINUE
17                                                      CONFERENCES UNDER LOCAL RULE 7-
                      v.                                11
18
      Kirstjen Nielsen, et al.,
19
                      Defendants.
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             JOINT MOTION & STIPULATION TO HOLD IN ABEYANCE OR CONTINUE
                         CONFERENCES UNDER LOCAL RULE 7-11
                                CASE NO.: 3:19-cv-00807-RS
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     *Admitted pro hac vice
25   **Application for pro hac vice pending
     ***Pro hac vice application forthcoming
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            JOINT MOTION & STIPULATION TO HOLD IN ABEYANCE OR CONTINUE
                        CONFERENCES UNDER LOCAL RULE 7-11
                               CASE NO.: 3:19-cv-00807-RS
             Case 3:19-cv-00807-RS Document 124 Filed 01/21/21 Page 3 of 5




 1
         JOINT MOTION & STIPULATION TO HOLD IN ABEYANCE OR CONTINUE
 2
                                CONFERENCES UNDER LOCAL RULE 7-11
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              This Court has stayed the instant case pending the resolution of an appeal of this Court's
 4
     preliminary injunction order. The parties now move under Local Rule 7-11 to hold all case
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 6   management and similar deadlines in abeyance pending resolution of all appeals, or alternatively, to

 7   continue the case management conference scheduled for January 28, 2021 until on or after June 28,

 8   2021.
 9            The parties are currently briefing an appeal of this Court's preliminary injunction order before
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     the Supreme Court of the United States. See Wolf v. Innovation Law Lab, No. 19-1212 (S. Ct.), cert.
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     granted Oct. 19, 2020. Argument has been set for Monday, March 1, 2021. The parties do not expect
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     a decision in that case until May or June 2021.
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14            Accordingly, the parties move to hold all case management and similar deadlines in abeyance.

15   The parties agree to file a joint stipulation to set a new case management conference or take other
16   appropriate action within 60 days of the issuance of the mandate in Wolf v. Innovation Law Lab, No.
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     19-1212 (S. Ct.).
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              Alternatively, the parties move to continue the case management conference scheduled for
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     January 28, 2021 until on or after June 28, 2021.
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              JOINT MOTION & STIPULATION TO HOLD IN ABEYANCE OR CONTINUE
                          CONFERENCES UNDER LOCAL RULE 7-11
                                 CASE NO.: 3:19-cv-00807-RS
         Case 3:19-cv-00807-RS Document 124 Filed 01/21/21 Page 4 of 5




 1
     Dated: January 21, 2021                 Respectfully submitted,
 2
                                                  /s/ Judy Rabinovitz
 3   BRIAN BOYNTON                           Judy Rabinovitz*
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 5   Director                                Lee Gelernt*
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     EREZ REUVENI                            Celso Perez (SBN 304924)
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           JOINT MOTION & STIPULATION TO HOLD IN ABEYANCE OR CONTINUE
                       CONFERENCES UNDER LOCAL RULE 7-11
                              CASE NO.: 3:19-cv-00807-RS
           Case 3:19-cv-00807-RS Document 124 Filed 01/21/21 Page 5 of 5




 1                                      CERTIFICATE OF SERVICE

 2   I hereby certify that on January 21, 2021, I caused a PDF version of the foregoing document to be
 3   electronically transmitted to the Clerk of the Court, using the CM/ECF system for filing and mailed
 4   courtesy copies to all necessary parties using certified mail.
 5   Dated: January 21, 2021
 6                                                                    /s/ Judy Rabinovitz
                                                                      Judy Rabinovitz
 7                                                                    Attorney for Plaintiffs
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             JOINT MOTION & STIPULATION TO HOLD IN ABEYANCE OR CONTINUE
                         CONFERENCES UNDER LOCAL RULE 7-11
                                CASE NO.: 3:19-cv-00807-RS
